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 5                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 6
                                          AT SEATTLE
 7
 8    UNITED STATES OF AMERICA,                                 Case No. CR19-159RSL
 9                           Plaintiff,                         ORDER DENYING MOTION
10                      v.                                      TO DISMISS COUNTS 2
11                                                              THROUGH 8
      PAIGE A. THOMPSON,
12
                             Defendant.
13
14
15         This matter comes before the Court on defendant Paige Thompson’s “Motion to Dismiss
16 Counts 2 through 8 of the Second Superseding Indictment” (Dkt. # 123). 1 Defendant faces an
17 upcoming trial for charges of wire fraud, violations of the Computer Fraud and Abuse Act (18
18 U.S.C. § 1030), access device fraud, and aggravated identity theft. Dkt. # 166. She contends
19 that Counts 2 through 8 of the indictment, which allege violations of the Computer Fraud and
20 Abuse Act (CFAA), must be dismissed for failure to state a claim. Dkt. # 123 at 1. Defendant
21 also moves to dismiss these counts because, as alleged, they violate her Fifth Amendment right
22 to due process and First Amendment right to free speech and expression. Id.
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26         1
            The government introduced a Second Superseding Indictment (Dkt. # 166) after briefing for
   this motion was submitted. Because the Second Superseding Indictment does not substantively modify
27
   Counts 2 through 8, the Court reads the arguments in the present motion as applying equally to both
28 versions of the Superseding Indictment and applies this ruling to the Second Superseding Indictment.
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 1          I.     Motions to File Overlength Response and Reply
 2          As a threshold matter, the Court grants the government’s motion to file an overlength
 3 response (Dkt. # 134). The government may file a thirteen-page response. The Court also
 4 grants defendant’s motion to file an overlength reply (Dkt # 159). Defendant may file a ten-
 5 page reply.
 6          II.    Counts 2 Through 8: Failure to State a Claim
 7          Defendant argues that Counts 2 through 8 of the Indictment must be dismissed because
 8 they fail to allege criminal activity. Dkt. # 123 at 1; Fed. R. Crim. P. 12(b)(3)(B)(v). At this
 9 motion to dismiss stage, “the issue in judging the sufficiency of the indictment is whether the
10 indictment adequately alleges the elements of the offense and fairly informs the defendant of the
11 charge, not whether the Government can prove its case.” United States v. Buckley, 689 F.2d
12 893, 897 (9th Cir. 1982). On a motion under Federal Rule of Criminal Procedure 12, the failure
13 to allege facts that, if proven, would satisfy an essential element of the offense is a fatal defect
14 requiring dismissal of the indictment. See United States v. Omer, 395 F.3d 1087, 1089 (9th Cir.
15 2005). However, “[t]he Government need not allege its theory of the case or supporting
16 evidence, but only the ‘essential facts necessary to apprise a defendant of the crime charged.’”
17 Id. (quoting United States v. Markee, 425 F.2d 1043, 1047-48 (9th Cir. 1970)). An indictment
18 need not explain all factual evidence to be proved at trial. United States v. Blinder, 10 F.3d
19 1468, 1476 (9th Cir. 1993).
20          In evaluating a motion to dismiss, the Court accepts the allegations in the indictment as
21 true and is “bound by the four corners of the indictment.” United States v. Boren, 278 F.3d 911,
22 914 (9th Cir. 2002). The indictment must be “construed according to common sense, and
23 interpreted to include facts which are necessarily implied.” United States v. Berger, 473 F.3d
24 1080, 1103 (9th Cir. 2007) (internal quotation marks and citation omitted). A Rule 12(b)(3)(B)
25 motion is “capable of determination before trial if it involves questions of law rather than fact”
26 and therefore does not intrude upon “the province of the ultimate finder of fact.” United States
27 v. Kelly, 874 F.3d 1037, 1046-47 (9th Cir. 2017) (quotations omitted).
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 1          Here, Counts 2 through 7 charge defendant with violating § 1030(a)(2) of the CFAA.
 2 This section prohibits “intentionally access[ing] a computer without authorization or exceed[ing]
 3 authorized access” and “thereby obtain[ing] . . . information contained in a financial record of a
 4 financial institution” or “information from any protected computer.” 18 U.S.C. § 1030(a)(2)(A),
 5 (C). Count 8 charges defendant with violating § 1030(a)(5)(A), which prohibits causing “the
 6 transmission of a program, information, code, or command, and as a result of such conduct,
 7 intentionally causes damage without authorization, to a protected computer.” 18 U.S.C.
 8 § 1030(a)(5)(A). Both statutory sections include the element that defendant acted “without
 9 authorization.”
10          The indictment alleges that defendant created proxy scanners that allowed her to identify
11 Amazon Web Services (AWS) servers with misconfigured web application firewalls that
12 permitted outside commands to reach and be executed by the servers. Dkt # 166 at ¶ 12.
13 Defendant then sent commands to the misconfigured servers to obtain security credentials for
14 particular accounts or roles belonging to the victims. Id. at ¶¶ 11-13, 16-18. Defendant then
15 used these “stolen credentials” to “copy data, from folders or buckets of data” in the victims’
16 cloud storage space and set up cryptocurrency mining operations on the victims’ rented servers.
17 Id. at ¶¶ 14-15, 21. The indictment further alleges that defendant concealed her location and
18 identity while executing these actions by using VPNs and TOR.2 Id. at ¶¶ 17-18.
19          Defendant contends that the indictment fails to allege an offense because the government,
20 under the facts alleged, cannot prove that defendant accessed a computer “without
21 authorization.”. 3 Dkt. # 123 at 1. In particular, defendant argues that because the victim servers
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                VPNs (virtual private networks) and TOR (The Onion Router) are both technologies that
24 facilitate online privacy and can be used to conceal a user’s identity and/or location.
25          3
              Counts 2 through 7 are charged under CFAA subsection (a)(2), which requires “intentionally
26 access[ing] a computer without authorization.” 18 U.S.C. § 1030(a)(2). In contrast, Count 8 is charged
     under CFAA subsection (a)(5)(A), which requires “intentionally caus[ing] damage without
27 authorization, to a protected computer.” 18 U.S.C. § 1030(a)(5)(A). The Court is cognizant of the need
     for congruence among these subsections. See Nosal II, 844 F.3d at 1033. However, to the extent that
28 defendant’s arguments are focused on whether she allegedly accessed a computer without authorization,
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 1 were misconfigured in such a way that they automatically provided her with credentials in
 2 response to certain legitimate commands that she sent, she had received “authorization.” Dkt.
 3 # 123 at 6. The government, relying on tenets of trespass law, 4 argues the computer system
 4 disclosed the credentials by “mistake, not authorization,” given defendant misrepresented herself
 5 as an authorized user. Dkt. # 135 at 6 (citing to Restatement (Second) of Torts §§ 173-74 (Am.
 6 L. Inst. 1977) (explaining that consent is not a valid defense to trespass when consent is obtained
 7 by fraud, misrepresentation, or mistake)).
 8          “Without authorization” is not defined in the CFAA. The Ninth Circuit has explained
 9 that “‘without authorization’ is an unambiguous, non-technical term [to be] given its plain and
10 ordinary meaning,” United States v. Nosal (Nosal II), 844 F.3d 1024, 1028 (9th Cir. 2016), and
11 has held that “a person is ‘without authorization’ under the CFAA ‘when the person has not
12 received permission to use the computer for any purpose (such as when a hacker accesses
13 someone’s computer without any permission).’” Facebook, Inc. v. Power Ventures, Inc., 844
14 F.3d 1058, 1066 (9th Cir. 2016) (quoting LVRC Holdings LLC v. Brekka, 581 F.3d 1127, 1135
15 (9th Cir. 2009)). In its only opinion interpreting the CFAA, the Supreme Court explained that
16 the “without authorization” clause “protects computers themselves by targeting so-called outside
17 hackers – those who ‘access a computer without any permission at all.’” Van Buren v. United
18 States, 141 S. Ct. 1648 (2021) (quoting Brekka, 581 F.3d at 1133). The Supreme Court
19 explained that liability “stems from a gates-up-or-down inquiry – one either can or cannot access
20 a computer system.” Id.
21
22
23 the Court notes that these arguments are not applicable to Count 8, which requires different elements
     than Counts 2-7.
24          4
               Notably, the Supreme Court’s Van Buren decision counseled against reliance on common law
25   principles when interpreting the CFAA. See 141 S. Ct. at 1655 n.4 (explaining that “common-law
     principles ‘should be imported into statutory text only when Congress employs a common-law term’—
26   not when Congress has outlined an offense ‘analogous to a common-law crime without using common-
     law terms’” (quoting Carter v. United States, 530 U.S. 225, 265 (2000)). In this case, the Court need not
27
     resort to trespass law to parse an answer – prior cases interpreting the CFAA provide support for
28   upholding the indictment.
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 1         Under this standard, the indictment here adequately states an offense. To reach this
 2 conclusion, the Court addresses each of defendant’s three main arguments: (1) that authorization
 3 was granted to her by the misconfigured servers; (2) that she did not use another person’s
 4 password; and (3) that she merely accessed publicly available information.
 5         1. Authorization
 6         Turning first to how defendant gained the credentials she used to allegedly copy the data
 7 and pursue her cryptomining operation, defendant repeatedly argues that she could not have
 8 been an “unauthorized” user because authorization was “automatically granted” to her when the
 9 misconfigured servers provided her with the user credentials. Dkt. # 160 at 9. Ultimately,
10 defendant argues, even if authorization was a “mistake,” it was “authorization nonetheless.” Id.
11         Defendant cites to no case where a user’s “authorization” was granted by mistake or by a
12 purely technological process. This argument is undermined by Ninth Circuit precedent, which
13 makes clear that “authorization” is something that only the owner of the computer or similar
14 authority can provide. See Nosal II, 844 F.3d at 1028 (explaining that “‘without authorization’
15 . . . means accessing a protected computer without permission”); Brekka, 581 F.3d at 1133
16 (defining “authorization” as “permission or power granted by an authority”); Domain Name
17 Comm’n Ltd. v. DomainTools LLC, 449 F. Supp. 3d 1024, 1027 (W.D. Wash. 2010) (finding
18 “one is authorized to access a computer when the owner of the computer gives permission to use
19 it”). Here, the indictment clearly alleges that the security credentials were “stolen” and that
20 defendant “lacked authority to use the accounts and roles and send the commands.” Dkt. # 166
21 at ¶ 16. The allegation that they were stolen implies that defendant acted without permission
22 from the owner of the computer, and, therefore, without authorization.
23         Furthermore, prior cases make clear that there is a difference between the technical
24 ability to access a computer and “authorization” to access a computer. For example, in Brekka
25 the Ninth Circuit explained that where a former employee’s login credentials had not been
26 deactivated after he left the company, there was “no dispute that if [the employee had] accessed
27 [his former employer’s] information on the [traffic monitoring] website after he left the
28 company . . . , [the employee] would have accessed a protected computer ‘without authorization’
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 1 for purposes of the CFAA.” 581 F.3d at 1136. Indeed, an order from this Court, cited
 2 frequently by defendant, found that where the plaintiff computer owner had explicitly revoked
 3 defendant’s permission to access its servers, any subsequent access by defendants was “without
 4 authorization” even though, technologically speaking, defendant still had the ability to access
 5 the servers. DomainTools, 449 F. Supp. 3d at 1027-28; see also Facebook, Inc., 844 F.3d at
 6 1067 (“Once permission [from the computer owner] has been revoked, technological
 7 gamesmanship . . . will not excuse liability”). Thus, merely having the technological capability
 8 to access a computer is not synonymous with “authorization.”
 9         These conclusions, of course, go only to the sufficiency of the indictment. See Buckley,
10 689 F.2d at 897. Any argument that mistake or technological process rendered defendant
11 “authorized” is properly resolved by the trier of fact.
12         2. Passwords
13         Defendant argues that once inside the servers, she “did not use another person’s password
14 or send ‘brute force’ commands to gain any further access.” Dkt. # 160 at 9. Instead, the
15 system “granted her access” in response to a set of commands because it mistook her for an
16 “authorized visitor.” Id. Defendant’s argument is essentially that because she is alleged to have
17 found a key rather than smashed the window, she cannot have been “without authorization.”
18         Determining authorization under the CFAA requires a “gates up or down” inquiry. Van
19 Buren, 141 S. Ct. at 1658. Courts have long held that technologically bypassing an
20 authentication requirement is unauthorized access under the CFAA. See United States v.
21 Morris, 928 F.2d 504, 506 (2d Cir. 1991) (describing computer program that guessed passwords
22 or found other unintentional holes to gain access); United States v. Phillips, 477 F.3d 215, 219-
23 21 (5th Cir. 2007) (describing computer program that scanned computer network for
24 vulnerabilities and used those vulnerabilities to gain access); see also Orin Kerr, Norms of
25 Computer Trespass, 116 COLUM. L. REV. 1143, 1171-73; cf. Van Buren, 141 S. Ct. at 1654
26 (finding that defendant “access[ed] a computer with authorization” when he used his patrol-car
27 computer and valid credentials to log into the law enforcement database”).
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 1          Here, regardless of the technological process defendant used to obtain the security
 2 credentials, the indictment clearly states that she accessed the data by using “stolen credentials”
 3 belonging to “accounts and roles of those customers that had permission to view and copy data.”
 4 Dkt. # 166 at ¶ 11. Thus, the indictment adequately alleges that the gates were “up” for
 5 defendant, as she was not herself an authorized user. See Nosal II, 844 F.3d at 1038 (finding
 6 defendant acted “without authorization” where he logged into his former employer’s computer
 7 system with another individual’s credentials after his own credentials were affirmatively
 8 revoked). To the extent defendant wishes to argue that her access method was authorized, such
 9 arguments should be raised to the trier of fact.
10          3. Public Information
11          Defendant’s most compelling argument is that because the victims’ firewalls were
12 misconfigured, “anyone with a proxy scanner” could have identified and entered the victim
13 servers, and thus defendant should be “no more liable under the CFAA than a person accessing a
14 public-facing web page.” Dkt # 123 at 6.
15          Courts have declined to find a CFAA violation where the information accessed by the
16 defendant is public facing. See, e.g., Cvent v. Eventbrite, Inc., 739 F. Supp. 2d 927, 933-34
17 (E.D. Va. 2011) (holding competitor's use of a scraper to query a company's website was
18 authorized access under the CFAA because “the entire world was given unimpeded access to
19 [the] website”); Pulte Homes, Inc. v. Laborers' Int’l Union of N. Am., 648 F.3d 295, 303-04 (6th
20 Cir. 2011) (finding labor union’s use of builder’s telephone and e-mail systems was authorized
21 because defendants “only targeted computer systems that [the builder] made available to the
22 public”). However, this has not been true across the board. See United States v. Auernheimer,
23 No. CR11–470SDW, 2012 WL 5389142, at *2 (D.N.J. Oct. 26, 2012), rev’d on other grounds,
24 748 F.3d 525 (3d Cir. 2014) (convicting defendant of unauthorized access for using a software
25 program that collected information from an AT&T website at hard-to-guess, but public facing,
26 URL addresses intended to be customer specific). Indeed, a recent opinion by the Ninth Circuit,
27 which concluded that it was “likely that when a computer network generally permits public
28 access to its data, a user's accessing that publicly available data will not constitute access
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 1 without authorization under the CFAA,” was vacated and remanded by the Supreme Court for
 2 further consideration in light of Van Buren. hiQ Labs, Inc. v. LinkedIn Corp., 938 F.3d 985,
 3 1003 (9th Cir. 2019), cert. granted, judgment vacated, 141 S. Ct. 2752 (2021) (mem.).
 4          While the Van Buren opinion declined to define exactly when a “gate” is “up” or “down,”
 5 the Supreme Court hinted that it was more likely to find “gates up” where there was some
 6 authentication requirement. Van Buren, 141 S. Ct. at 1658-59 & nn.8-9. The question of
 7 whether accessing a server that is not meant to be public (unlike a public facing website) but
 8 nonetheless lacks protective authentication requirements constitutes acting “without
 9 authorization” under the CFAA therefore exists in a gray area. 5 However, the Court need not
10 resolve this question here.
11          Here, defendant may be able to argue that, prior to using the allegedly stolen security
12 credentials, she was merely viewing “information for which access is open to the general public
13 and permission is not required.” LinkedIn, 938 F.3d at 1001-02. However, this argument is
14 properly made to the trier of fact. Further, even if this argument has merit, it only affects where
15 in the chain of events the CFAA offense might attach, rather than whether one attaches at all.
16 While using a proxy scanner to identify and initially access misconfigured servers may not
17 qualify as a CFAA violation under the “gates up” formulation expounded in Van Buren, the
18 allegations that defendant obtained and used security credentials that did not belong to her, and
19 that she was not authorized by the victims to use, adequately state an offense under the CFAA.
20          For all of the foregoing reasons, defendant’s motion to dismiss Counts 2 through 8 for
21 failure to state a legally cognizable CFAA claim is denied.
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            Recognized CFAA commentator Professor Orin Kerr has explained that Van Buren “leaves to
   lower courts the largely interstitial work of figuring out the hard line-drawing of what exactly counts as
27
   enough of a closed gate to trigger liability.” Orin Kerr, Focusing the CFAA in Van Buren, SUP. CT.
28 REV. (forthcoming).
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 1         III.     Due Process
 2         Defendant further argues that Counts 2 through 8 of the indictment should be dismissed
 3 as unconstitutionally vague because they violate her Fifth Amendment right to due process.
 4 Dkt. # 123 at 8.
 5         In the Ninth Circuit, “[t]o survive vagueness review, a statute must (1) define the offense
 6 with sufficient definiteness that ordinary people can understand what conduct is prohibited; and
 7 (2) establish standards to permit police to enforce the law in a non-arbitrary, non-discriminatory
 8 manner.” United States v. Sutcliffe, 505 F.3d 944, 953 (9th Cir. 2007) (internal quotations and
 9 citation omitted). Here, defendant argues that the CFAA charges in the indictment fail on both
10 counts. First, she argues, “[n]othing in the text of the CFAA, or the legal opinions that have
11 interpreted it since its passage” would put defendant on notice that her conduct would subject
12 her to criminal liability. Dkt. # 123 at 10. Second, she argues that the government’s use of the
13 CFAA to prosecute her for behavior akin to that of a “white hat hacker” is unconstitutionally
14 arbitrary. Id.
15         1. Fair Notice
16         Defendant’s claim that the CFAA does not provide her with fair notice of the criminal
17 nature of her conduct is unconvincing. To begin, defendant consistently characterizes her
18 conduct as using “a proxy scanner to detect ‘open gates’ on servers connected to the Internet.”
19 Id. However, the indictment charges defendant with far more than this. As discussed above, the
20 indictment charges defendant with not only using a proxy scanner to detect “open gates,” but
21 then sending commands through those open gates to steal security credentials, and finally using
22 those stolen credentials to copy data and set up cryptomining operations. Dkt. # 166 at ¶¶ 12-
23 21. As addressed in the previous section, the allegations in the indictment reasonably state a
24 claim for a violation of the CFAA in light of the statute’s text and judicial opinions interpreting
25 the statute. Cf. United States v. Lanier, 520 U.S. 259, 266 (1997) (“[D]ue process bars courts
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 1 from applying a novel construction of a criminal statute to conduct that neither the statute nor
 2 any prior judicial decision has fairly disclosed to be within its scope.”). 6
 3          To the extent that defendant analogizes herself to “white hat hackers,” there has long
 4 been concern among the security researcher community about how their actions may be criminal
 5 under the CFAA. See, e.g., Brief of Amicus Curiae Computer Security Researchers, Van Buren,
 6 141 S. Ct. 1648 (No. 19-783), 2020 WL 4005654.
 7          Considering these factors, the Court finds defendant had fair notice of the potential
 8 criminal liability of her actions.
 9          2. Arbitrary Enforcement
10          Defendant’s claim that the CFAA charges against her amount to arbitrary enforcement is
11 also unavailing. First, defendant argues that her conduct was “almost identical” to that of a
12 “white hat hacker.” Defendant cites to a number of media articles to support the contention that
13 numerous federal agencies and companies actively engage and reward white hat hackers. Dkt.
14 # 160 at 2 n.1. However, far from proving her point that she is a white hat hacker, the articles
15 appear to undermine her claim. In one article, the hacker returned the heisted digital coins and
16 explained that they had carried out the attack “for fun” and to expose a vulnerability. The article
17 was also keen to note that the hacker is “still unidentified,” which would make prosecution
18 difficult. See Miranda Bryant, ‘White Hat’ Hacker Behind $610m Crypto Heist Returns Most of
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20          6
               To the extent that defendant invokes the rule of lenity in her due process argument, that
21   defendant was aware her behavior was criminal weighs heavily against its application. See, e.g., United
     States v. Nader, 542 F.3d 713, 721 (9th Cir. 2008) (counseling against application of the rule of lenity
22   where defendants “knew that their conduct was illegal” because “the rule of lenity . . . ‘is rooted in
     fundamental principles of due process which mandate that no individual be forced to speculate, at peril
23   of indictment, whether his conduct is prohibited’” (quoting Dunn v. United States, 442 U.S. 100, 112
24   (1979)). As the government points out, there is compelling evidence that defendant herself was
     personally aware of the potential criminal and legal ramifications of her conduct. Not only was she an
25   experienced systems engineer, but the government has also marshaled evidence showing that defendant
     was aware of the prosecution of Adrian Lamo, a gray hat hacker “who was arrested, indicted, and
26
     convicted for accessing the New York Times’ intranet without authorization – through a misconfigured
27   proxy server – in violation of the CFAA.” Dkt. # 135 at 11. In fact, defendant described her own
     activities as “way worse than what [Lamo] got arrested for initially.” Id. It follows, then, that defendant
28   was aware of the risk she was taking and the potential criminal liability that could attach to her conduct.
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 1 Money, The Guardian (Aug. 13, 2021),
 2 https://www.theguardian.com/technology/2021/aug/13/white-hat-hacker-behind-610m-crypto-
 3 heist-returns-most-of-money. In another, the article reports that white hat hackers “report[ed]” a
 4 vulnerability in an Ethereum network’s “proof-of-stake Genesis contract,” allowing it to resolve
 5 the bug. The article also separately refers to a “malicious hacker” who stole digital tokens
 6 before the bug was resolved. The article fails to provide sufficient detail to compare defendant’s
 7 conduct with that of the various hackers mentioned in the article and describes a highly different
 8 context than the one the Court is confronted with here. However, given that defendant is alleged
 9 to have copied vast quantities of data to her own machine, her behavior appears more closely
10 analogous to that of the so-called “malicious hacker” than that of the “white hat hackers.” See
11 Brian Quarmby, Polygon Upgrade Quietly Fixes Bug That Put $24B of MATIC at Risk,
12 CoinTelegraph (Dec. 30, 2021), https://cointelegraph.com/news/polygon-upgrade-quietly-fixes-
13 bug-that-put-24b-of-matic-at-risk. Finally, the Department of Homeland Security program
14 defendant touts is clear that it includes only “vetted cybersecurity researchers who have been
15 invited to access select external DHS systems.” Press Release, Dep’t of Homeland Sec., DHS
16 Announces “Hack DHS” Bug Bounty Program to Identify Potential Cybersecurity
17 Vulnerabilities (Dec. 14, 2021), https://www.dhs.gov/news/2021/12/14/dhs-announces-hack-
18 dhs-bug-bounty-program-identify-potential-cybersecurity. In contrast, defendant was neither
19 vetted nor invited to access AWS or individual victims’ servers. This factual difference has
20 significant ramifications under the CFAA, where, as discussed above, the question is whether
21 the user has “authorization” from the computer owner.
22         Defendant also argues that apart from the security researcher argument, she is just one of
23 many individuals who “scan the internet, communicate with publicly facing websites, obtain
24 information from the websites, and save the information on their computers.” Dkt. # 123 at 11.
25 Again, defendant mischaracterizes the allegations laid out against her in the indictment – most
26 critically to the CFAA counts, that she employed user credentials she was not authorized to use.
27 Her related argument that had she “acted less erratically (rather than a person who has struggled
28 her entire life with mental illness and her gender identity) and notified Capital One through its
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 1 Responsible Disclosure Program (rather than alerting the information security community at
 2 large of the events in question), she surely would not have been charged,” Dkt. # 160 at 1, is
 3 based on a counterfactual hypothetical, which the Court need not address. 7 Accordingly, the
 4 indictment adequately alleges a CFAA violation and defendant has not shown that this
 5 prosecution is being pursued in an arbitrary or discriminatory manner.
 6          Because defendant had adequate notice of potential criminal liability, and cannot show
 7 arbitrary enforcement, her motion to dismiss for violation of due process rights is denied.
 8          IV.       First Amendment
 9          Finally, defendant argues that Counts 2 through 8 of the indictment violate her First
10 Amendment rights, and thus must be dismissed. Dkt # 123 at 11-13. An as-applied First
11 Amendment challenge “contends that the law is unconstitutional as applied to the litigant's
12 particular speech activity.” United States v. Kaczynski, 551 F.3d 1120, 1126 (9th Cir. 2009)
13 (quoting Foti v. City of Menlo Park, 146 F.3d 629, 635 (9th Cir. 1998)). Here, the speech
14 activity claimed by defendant includes (1) scripting code; and (2) receiving information that the
15 owner of a computer makes publicly available. Dkt # 123 at 12. 8
16          Assuming that the code defendant scripted in creating the proxy scanner would be
17 protected by the First Amendment, see, e.g., United States v. Bondarenko, No. CR17-306, 2019
18 WL 2450923, at *10 (D. Nev. June 12, 2019), it is hard to see how the CFAA prosecution here
19 impedes the exercise of this protected speech. Neither creating nor using the proxy scanner is
20 alone alleged to constitute accessing a computer “without authorization” in violation of the
21 CFAA. To the extent that defendant claims code she allegedly wrote to obtain and facilitate
22 using the “stolen” security credentials is protected speech, the Supreme Court has explained that
23
            7
24             While this is not a decisive point for deciding this Motion to Dismiss, it would be an important
     factor at sentencing.
25          8
                To the extent that defendant claims that the government is criminalizing her exercise of free
26 speech inherent in her choice “to notify the community at large that Capital One was inappropriately
   storing its customers’ personal information in areas of AWS servers accessible to even the most novice
27
   hacker,” rather than “privately notify[ing] Capital One of its error,” Dkt. # 160 at 5-6, the indictment is
28 silent as to who she did and did not notify. This too would have more relevance at sentencing.
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 1 the First Amendment does not protect “speech integral to criminal conduct.” United States v.
 2 Stevens, 559 U.S. 460, 468 (2010). Because the code defendant wrote to access the victims’
 3 data and set up her cryptomining operations was “integral” to her alleged criminal conduct, it is
 4 not protected speech.
 5          Defendant also argues that receiving information “the owner of a computer makes
 6 publicly available” qualifies as protected speech. 9 Dkt. # 123 at 2. Assuming, arguendo, that
 7 this is true, defendant’s argument that her right to engage in this protected speech is violated by
 8 the indictment can only stand if the information on the victims’ servers was, in fact, publicly
 9 available. As discussed above, the Court finds that the government has adequately alleged that
10 when defendant used security credentials belonging to another to access data stored on the
11 victims’ servers, she was not accessing “publicly available information” but was instead
12 accessing a computer without authorization. 10 Thus, defendant’s alleged conduct, as described
13 in the indictment, does not include receiving “publicly available” information and thus would
14 not implicate her First Amendment rights in that protected activity. While defendant is free to
15 dispute the facts alleged in the government’s indictment at trial and may argue that contrary to
16 the government’s characterization, the data was publicly accessible, such a defense is not ripe
17 for pretrial determination. United States v. Covington, 395 U.S. 57, 61 (1969) (explaining that a
18 defense is capable of pretrial determination “if trial of the facts surrounding the commission of
19 the alleged offense would be of no assistance in determining the validity of the defense”).
20
21
            9
                While it’s undisputed that the First Amendment protects a right to “receive information and
22 ideas,” Va. State Bd. of Pharmacy v. Va. Citizens Consumer Council, 425 U.S. 748, 757 (1976), the case
23 defendant cites to support the proposition that the First Amendment protects “white hat hacking, data
     mining, scraping, and access to publicly available resources on the Internet,” Dkt. # 123 at 12, dealt with
24 a content- and speaker-based restriction on the sale, disclosure, and use of prescriber-identifying
     information in pharmacy records, not with publicly available information. Sorrell v. IMS Health Inc.,
25 564 U.S. 552, 563-64 (2011).
26        10
             To the extent defendant seeks to argue that some of the behavior described in the indictment
   does not constitute a crime under the CFAA (and that charging this conduct as such would be a violation
27
   of First Amendment rights), such a determination is better resolved in the context of determining the
28 point at which defendant accessed a computer “without authorization.” See Section II.3.
   ORDER DENYING MOTION TO
   DISMISS COUNTS 2 THROUGH 8 - 13
            Case 2:19-cr-00159-RSL Document 226 Filed 03/21/22 Page 14 of 14




 1          Defendant agrees that the CFAA prohibits “breaking and entering” protected computers
 2 but argues that the government’s application of the statute to her conduct “runs afoul of the First
 3 Amendment” because her conduct does not qualify as “breaking and entering” under the
 4 CFAA. 11 Dkt. # 160 at 5. However, as discussed, the indictment adequately alleges that
 5 defendant accessed a computer without authorization. The indictment therefore limits
 6 application of the CFAA to the “breaking and entering” of protected computers and does not
 7 violate defendant’s First Amendment rights. Accordingly, defendant’s motion to dismiss for
 8 violation of her First Amendment rights is denied.
 9          V.        Conclusion
10          For all of the foregoing reasons, IT IS HEREBY ORDERED that:
11      1. Defendant’s motion to dismiss Counts 2 through 8 of the indictment (Dkt. # 123) is
12          DENIED.
13      2. The government’s motion to file an overlength response (Dkt. # 134) is GRANTED.
14      3. Defendant’s motion to file an overlength reply (Dkt # 159) is GRANTED.
15          DATED this 21st day of March, 2022.
16
17                                                        A
                                                          Robert S. Lasnik
18                                                        United States District Judge
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                 Defendant cites to Sandvig v. Barr, 451 F. Supp. 3d 73, 88-89 (D.D.C. 2020) and United
24 States v. Drew, 259 F.R.D. 449 (C.D. Cal. 2009) to argue that the government “has attempted to
25 criminalize speech utilizing the CFAA.” Dkt. # 160 at 4-5. However, both Sandvig and Drew dealt with
     violations of a website’s Terms of Service agreement pre-Van Buren. The potential for contract-based
26 limits on “authorization” under the CFAA has been the primary source of concern for potential First
   Amendment violations. See Orin Kerr, Cybercrime's Scope: Interpreting “Access” and
27
   “Authorization” in Computer Misuse Statutes, 78 N.Y.U. L. REV. 1596, 1658-59 (2003). In contrast,
28 defendant is charged with technological circumvention of authentication.
   ORDER DENYING MOTION TO
   DISMISS COUNTS 2 THROUGH 8 - 14
